                                Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 1 of 47
         DELGAR        FOODS LLC                                                      17076279
         PO Box 2973                                                                 ORG1500 Kitchen
         Mallon   TX
                                                                                     EE ID 578
                        78502




                                                                  JUANA CRUZ DE LA CRUZ
                                                                  2920E SCHUNIOR APT 14
                                                                  EDINBURG TX 78542




                                                        BANK OF AMERICA
                                                        PAYABLE IF DESIRED AT
                                                        ALL BANK OF AMERICA BANKS




 PERSONAL AND CHECK INFORMATION                                                      EARNINGS             DESCRIPTION            HRSUNITS            RATE   THIS PERIOD     $   YTD   HOURS     YTD   $
 Juana    Cruz de      la   Cruz

 2920    E Schunior Apt         14                                                                        Regular                     4000         110000             44000           187915   2028305
  Edinburg     TX      78542                                                                              Overtime                    3532         165000             58278            16304    268146
 Soc Sec          xxxxxxxxx                Employee ID      578                                           Bonus                                                                                  10660
                                                                                                          Holiday                     1600         110000             17600             1600     17600
  Home Department               500 Kitchen                                                              Vacation                                                                      8000     88000
                                                                                                          Total    Hours              9132                                            213819
  Pay Period 122020                 to    122620                                                          Gross     Earnings                                         119878                    2412711
 Check Date            123020              Check        4394327553                                       Total     Hrs Worked         7532
  NET PAY ALLOCATIONS                                                                WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                   YTD   $
 DESCRIPTION                       THIS    PERIOD   $                YTD    $                             Social   Security                                            7432                     149588
 Check Amount                                102941               2186534                                 Medicare                                                     1738                      34984
  NET    PAY                                 102941               2186534                                 Fed Income       Tax   M4                                    6910                      19323


                                                                                                          TOTAL                                                       16080                     203895

                                                                                     DEDUCTIONS           DESCRIPTION                                       THIS PERIOD     $                   YTD   5
                                                                                                          Insurance   Post                                              857                      22282


                                                                                                         TOTAL                                                          857                      22282




                                                                                                                                                                       EXHIBIT

                                                                                                                                                                              A-10




                                                                                     NET PAY                                                                THIS   PERIOD   $                    YTD   $
                                                                                                                                                                     102941                     2186534




 0944     17076279           Delgar       Foods   LLC    PO Box 2978       Mcallen   TX   78502   956 9614609




                                                                                                                                                                                               DELIA002275
CONFIDENTIAL
                                Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 2 of 47
           DELGAR FOODS LLC                                                     17076279
           PO Box 2978                                                          ORG1600     Production
                     TX 78502
                                                                                                     DD
           Mcalien                                                                                                                                                                                ss
                                                                                EE ID 471




2

3




                                                                OFELIA     BENAVIDES
                                                                8235 GEMINI AVE
                                                                EDINBURG TX         78542
3




    PERSONAL AND CHECK INFORMATION                                             EARNINGS             DESCRIPTION            HRSIUNITS           RATE   THIS   PERIOD   $   YTD HOURS     YTD   $
    Ofelia Benavides

    8235   Gemini     Ave                                                                           Regular                     4000         115000             46000        198625   2284189
    Edinburg     TX    78542                                                                        Overtime                    2263         172500             39037         82000    1414504
    Soc Sec          xxxxxxxxx          Employee ID       471                                       Bonus                                                                               10662

                                                                                                    Holiday                     1600         115000             18400          1600     18400
    Home Department             600 Production                                                      Vacation                                                                   8000     92000
                                                                                                    Total    Hours              7863                                         290225
    Pay Period        122020     to    122620                                                       Gross      Earnings                                        103437                 3819755
    Check Date         123020           Check         25214                                         Total    Hrs Worked         6263
    NET PAY ALLOCATIONS                                                        WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS PERIOD     $                 YTD   $
    DESCRIPTION                 THIS    PERIOD    $               YTD   $                           Social   Security                                            6413                  236825
    Check Amount                                 000                 000                            Medicare                                                     1499                   55386
    Chkg 4544                               89902               3395422                             Fed   Income     Tax   M4                                    4937                   106720
    NET PAY                                 89902               3395422

                                                                                                    TOTAL                                                       12849                  398931

                                                                               DEDUCTIONS           DESCRIPTION                                       THIS PERIOD     $                 YTD   $
                                                                                                    Insurance    Post                                             686                   25402


                                                                                                    TOTAL                                                         686                   25402




                                                                               NET PAY                                                                THIS   PERIOD   $                  YTD   $
                                                                                                                                                                89902                  3395422


     Payrolls    by Paychex           Inc



    0944    17076279        Delgar      Foods   LLC    PO Box 2978   Mcallen   TX   78502   956 9614609




                                                                                                                                                                                      DEL IA002407
CONFIDENTIAL
                              Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 3 of 47
         DELGAR FOODS           LLC                                          17076279
         PO Box 2978                                                         ORG1500 Kitchen
                   TX 78502
                                                                             EE ID 533             DD
         McaIlen




                                                             GABRIELA VELAZQUEZ           QUIROZ
                                                             2023 CHICAGO AVE
                                                             MCALLEN TX 78501




  PERSONAL AND CHECK INFORMATION                                            EARNINGS             DESCRIPTION            HRSUNITS             RATE   THIS PERIOD     $   YTD   HOURS      YTD   $
  GabrielaVelazquezQuiroz
  2023   Chicago     Ave                                                                         Regular                     4000           95000             38000           186743    1688687

  McAllen    TX     78501                                                                        Overtime                    2827          142500             40285            13539     190168
  Soc Sec          xxxxxxxxx          Employee ID      533                                       Bonus                                                                                    10660

                                                                                                 Holiday                         1600       95000             15200             1600      15200
  Home Department             500 Kitchen                                                        Vacation                                                                       8000     72000
                                                                                                 Total    Hours              8427                                             209882
  Pay Period        1212020     to   122620                                                      Gross      Earnings                                          93485                     1976715
  Check Date         123020           Check        25208                                         Total    Hrs Worked         6827
  NET PAY ALLOCATIONS                                                       WITHHOLDINGS         DESCRIPTION            FILING    STATUS            THIS PERIOD     $                    YTD   $
  DESCRIPTION                 THIS    PERIOD   $              YTD   $                            Social   Security                                             5796                      122556
  Check Amount                                000                 000                            Medicare                                                      1355                      28662
  Chkg   7202                            80033               1558103                             Fed    Income    Tax   S4                                     5992                      21827
  Chkg   1713                                 000             237533
  NET PAY                                80033               1795636                             TOTAL                                                        13143                      173045

                                                                            DEDUCTIONS           DESCRIPTION                                        THIS PERIOD     $                    YTD   $
                                                                                                 Insurance    Post                                              309                       8034


                                                                                                 TOTAL                                                          309                       8034




                                                                            NET PAY                                                                 THIS   PERIOD   $                     YTD   $
                                                                                                                                                              80033                      1795636


   PayroI1          Paycilex     Inc



  0944    17076279          Delgar   Foods   LLC    PO Box 2978   Mcallen   TX   78502   9569614609




CONFIDENTIAL                                                                                                                                                                           DEL IA002537
                                Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 4 of 47
         DELGAR         FOODS LLC                                                  17076279
         PO Box 2978                                                               ORG1600 Production
         Mcallen   TX   78502
                                                                                   EE ID 475        DD




                                                                 MELESIO CRUZ
                                                                 2920 E RICHARDSON

                                                                 APT 14
                                                                 EDINBURG TX 78542




  PERSONAL AND CHECK INFORMATION                                                  EARNINGS             DESCRIPTION            HRSUNITS           RATE    THIS   PERIOD   $   YTD HOURS      YTD   5
  Melesio Cruz

  2920   E Richardson                                                                                  Regular                     4000         115000             46000        199554    2294872
  Apt 14                                                                                               Overtime                        707      172500             12196         76242    1315178
               TX    78542
  Edinburg                                                                                             Bonus                                                                                10661
  Soc Sec          xxxxxxxxx            Employee ID        475                                         Holiday                     1600         115000             18400          1600      18400
                                                                                                       Vacation                                                                   8000      92000
  Home Department               600    Production
                                                                                                       Total    Hours              6307                                         285396
                                                                                                       Gross    Earnings                                           76596                  3731111
  Pay Period        122020        to   122620                                                          Total Hrs Worked            4707
  Check Date        123020              Check          25217
  NET PAY ALLOCATIONS
                                                                                  WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                 YTD    $
                                                                                                       Social   Security                                            4749                   231329
  DESCRIPTION                    THIS PERIOD        $             YTD    $                             Medicare                                                     1111                    54101
  Check Amount                                   000                 000                               Fed   Income     Tax   M4                                    2063                    90153
  Chkg 7965                                      000              551854

  Chkg 6946                                    67958             2773098                               TOTAL                                                        7923                   375583
  NET PAY                                      67958             3324952
                                                                                  DEDUCTIONS           DESCRIPTION                                       THIS   PERIOD   $                 YTD    $
                                                                                                       Insurance   Post                                                715                  30576


                                                                                                      TOTAL                                                            715                  30576




                                                                                  NET PAY                                                                THIS PERIOD     $                  YTD     $
                                                                                                                                                                   67958                   3324952

   Payrolls    hy Paychex             Inc



  0944   17076279          Delgar      Foods    LLC    PO Box 2978      Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                             DELIA002626
                                 Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 5 of 47
        DELGAR          FOODS LLC                                                         17076279
        PO   Box   2978                                                                   ORG1600 Production
                   TX    70502
                                                                                          EE ID 474
        Mcallen




                                                                    ANGELICA CHAVEZ
                                                                    6806 AZUL LANE
                                                                    PHARR TX 78577




                                                         BANK   OF AMERICA
                                                         PAYABLE    IF   DESIRED    AT
                                                         ALL BANK   OF AMERICA           BANKS




 PERSONAL AND CHECK INFORMATION                                                          EARNINGS             DESCRIPTION            HRSUNITS           RATE    THIS   PERIOD   $   YTD   HOURS      YTD   $
 Angelica       Chavez
 6806    Azul    Lane                                                                                         Regular                     4000         115000             46000           198024    2277277
 Pharr    TX      78577                                                                                       Overtime                    1792         172500             30912            75796    1307487
 Soc Sec           xxxxxxxxx              Employee ID        474                                              Bonus                                                                                   10662

                                                                                                              Holiday                     1600         115000             18400             1600      18400
  Home Department                600    Production                                                            Vacation                                                                      8000     92000
                                                                                                              Total    Hours              7392                                            283420
 Pay Period         122020         to    122620                                                               Gross     Earnings                                          95312                     3705826
 Check Date             123020            Check         4394327597                                            Total Hrs    Worked         5792
 NET PAY ALLOCATIONS                                                                     WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                    YTD   $
 DESCRIPTION                      THIS    PERIOD     $                   YTD    $                             Social    Security                                           5909                      229761
 Check Amount                                    80808              3111610                                   Medicare                                                     1382                       53734
  NET PAY                                        80808              3111610                                   Fed    Income    Tax   S4                                    6211                      177769


                                                                                                              TOTAL                                                       13502                     461264

                                                                                         DEDUCTIONS           DESCRIPTION                                       THIS   PERIOD   $                    YTD   $
                                                                                                              Insurance    Post                                            1002                       42952
                                                                                                              Loan                                                                                    90000


                                                                                                              TOTAL                                                        1002                      132952




                                                                                         NET PAY                                                                THIS PERIOD     $                     YTD   $
                                                                                                                                                                          80808                      3111610




 0944    17076279            Delgar      Foods    LLC    PO Box 2978           Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                                       DEL IA002756
                                 Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 6 of 47
         DELGAR         FOODS     LLC                                                    17076279
         PO Box 2978                                                                     ORG1500          Kitchen
         Mcallen   TX   78502
                                                                                         EE ID      23




                                                                  CONCEPCION                PEREZ
                                                                  717 E 41ST
                                                                  SAN JUAN TX 78589




                                                       BANK OF AMERICA
                                                       PAYABLE    IF   DESIRED    AT
                                                       ALL   BANK OF AMERICA           BANKS




  PERSONAL AND CHECK INFORMATION                                                       EARNINGS                     DESCRIPTION            FIRSUNITS           RATE    THIS   PERIOD   $   YTD   HOURS      YTD    $
  Concepcion       Perez

  717   E 41st                                                                                                      Regular                     4000          105000             42000           192787    2024269
  San Juan TX           78589                                                                                                                   2964
                                                                                                                    Overtime                                  157500             46683            21763     342771
  Soc Sec          xxxxxxxxx            Employee ID          23                                                     Bonus                                                                                    10662
                                                                                                                    Holiday                         1600      105000             16800             1600      16800
  Home Department               500 Kitchen                                                                         Vacation                                                                       8000      84000
                                                                                                                    Total    Hours              8564                                             224150
  Pay Period        122020        to   122620                                                                       Gross      Earnings                                         105483                     2478502
  Check Date        123020              Check        4394327579                                                     Total    Hrs Worked         6964
  NET PAY ALLOCATIONS                                                                  WITHHOLDINGS                 DESCRIPTION            FILING    STATUS            THIS PERIOD     $                    YTD    $
  DESCRIPTION                   THIS    PERIOD    $                    YTD    $                                     Social   Security                                             6540                      153667
  Check Amount                                 90639              2243993                                           Medicare                                                      1529                       35938
  NET PAY                                      90639              2243993                                           Fed Income       Tax   M3                                     6175                       23064


                                                                                                                    TOTAL                                                        14244                      212669
                                                                                       DEDUCTIONS                   DESCRIPTION                                        THIS   PERIOD   $                    YTD    $
                                                                                                                    Insurance    Post                                                600                     21840


                                                                                                                    TOTAL                                                            600                     21840




                                                                                       NET PAY                                                                         THIS PERIOD     $                     YTD   $
                                                                                                                                                                                 90639                     2243993




 0944    17076279          Delgar      Foods   LLC     PO Box 2978           Mcallen   TX   78502        956 9614609




CONFIDENTIAL                                                                                                                                                                                              DEL IA002867
                                Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 7 of 47
         DELGAR         FOODS LLC                                                  17076279
         PO Box 2978                                                              ORG 1350     Leads                                                                                                4
                   TX   78502
                                                                                  EE ID 486
         Mcallen




                                                               OLGA PEREZ
                                                               2500 S WARE RD
                                                               APT 9
                                                               MCALLEN TX 78503




                                                     BANK OF AMERICA
                                                     PAYABLE    IF DESIRED AT
                                                     ALL   BANK OF AMERICA BANKS




 PERSONAL AND CHECK INFORMATION                                                   EARNINGS             DESCRIPTION            HRSUNITS            RATE   THIS PERIOD     $   YTD HOURS    YTD   $
 Olga    Perez

 2500 S Ware Rd                                                                                        Regular                      4000        123500             49400        199445   2463146

 Apt 9                                                                                                 Overtime                     1872        185250             34679         31785    588816
 McAllen     TX     78503                                                                              Bonus                                                                               10662
 Soc Sec           xxxxxpooc            Employee ID 486                                                Holiday                      1600        123500             19760          1600     19760
                                                                                                       Vacation                                                                   4000    49400
 Home Department                350 Leads                                                              Total    Hours               7472                                        236830
                                                                                                       Gross      Earnings                                        103839                 3131784
 Pay Period 122020                to   122620                                                          Total    Hrs Worked          5872
 Check Date 123020                      Check        4394327503
                                                                                  WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                YTD   3
 NET PAY ALLOCATIONS
                                                                                                       Social   Security                                            6438                  194171
 DESCRIPTION                     THIS PERIOD     $                YTD    $                             Medicare                                                     1506                   45411
 Check Amount                               88660               2778413                                Fed Income       Tax   S 4                                   7235                  113789
 NET PAY                                    88660               2778413

                                                                                                       TOTAL                                                       15179                  353371




                                                                                  NET PAY                                                                THIS PERIOD     $                  YTD   $
                                                                                                                                                                   88660                  2778413


  Payrolls     by Paychox


 0944     17076279          Delgar     Foods   LLC    PO Box 2978       Mcallen   TX   78502   956 9614609




                                                                                                                                                                                         DEL IA002997
CONFIDENTIAL
                              Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 8 of 47
         DELGAR FOODS           LLC                                                  17076279
         PO Box 2978                                                                ORG1350 Leads
                   TX 78502
                                                                                    EE ID 107
         McaIlen




                                                              MAUR ICIO SANCHEZ
                                                              1210W 24TH PLACE
                                                              MISSION TX 78574




                                                   BANK OF AMERICA
                                                   PAYABLE    IF   DESIRED    AT
                                                   ALL BANK   or AMERICA           BANKS




  PERSONAL AND CHECK INFORMATION                                                   EARNINGS                DESCRIPTION            HRSUNITS            RATE   THIS PERIOD     $   YTD HOURS     YTD   $
  Mauricio   Sanchez
  1210W 24th        Place                                                                                  Regular                      4000        112500             45000        191867    2158506
  Mission    TX    78574                                                                                   Overtime                     2476        168750             41783         18610     314050
  Soc Sec          xxxxxxxxx          Employee ID      107                                                 Bonus                                                                                10660
                                                                                                           Holiday                      1600        112500             18000          1600      18000
  Home Department             350 Leads                                                                   Vacation                                                                    8000      90000
                                                                                                          Total     Hours               8076                                        220077
  Pay Period        12202010         122620                                                                Gross     Earnings                                         104783                  2591216
  Check Date         123020           Check        4394327506                                             Total     Hrs Worked          6476
  NET PAY ALLOCATIONS                                                              WITHHOLDINGS            DESCRIPTION            FILING   STATUS            THIS PERIOD     $                 YTD   $
  DESCRIPTION                 THIS    PERIOD   $                   YTD    $                                Social    Security                                           6496                   160655
  Check Amount                            92660               2385409                                      Medicare                                                     1520                    37573
  NET PAY                                 92660               2385409                                      Fed Income       Tax   M 5                                   4107                     7579


                                                                                                          TOTAL                                                        12123                   205807




                                                                                   NET PAY                                                                   THIS   PERIOD   5                  YTD   $
                                                                                                                                                                       92660                   2385409


                    Paychex


  0944    17076279          Delgar   Foods   LLC    PO Box 2978          Mcallen    TX     78502   956 9614609




CONFIDENTIAL                                                                                                                                                                                 DELIA003130
                              Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 9 of 47
         DELGAR      FOODS LLC                                                 17076279
         PO Box 2978                                                          ORG1350 Leads
                   TX 78502
                                                                              EE ID 604            DD
         McaIlen




                                                             JORGE MAULEON
                                                             505 CAROL AVE
                                                             MISSION TX 78573




  PERSONAL AND CHECK INFORMATION                                              EARNINGS             DESCRIPTION            HRSUNITS            RATE   THIS PERIOD     $   YTD   HOURS      YTD   $
  Jorge Mauleon

  505 Carol Ave                                                                                    Regular                      4000        105000             42000           192712    1770408
  Mission    TX     78573                                                                          Overtime                     2487        157500             39170            22659    327406
  Soc Sec          xxxxxxxxx          Employee ID      604                                         Bonus                                                                                  10660

                                                                                                   Holiday                      1600        105000             16800             1600     16800
  Home Department             350 Leads                                                           Vacation                                                                      8000      72000
                                                                                                  Total     Hours               8087                                           224971
  Pay Period 122020             to   122620                                                        Gross     Earnings                                          97970                    2197274
  Check Date         123020           Check        25094                                          Total     Hrs Worked          6487
  NET PAY ALLOCATIONS                                                         WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS PERIOD     $                    YTD   $
  DESCRIPTION                 THIS    PERIOD   $              YTD    $                             Social   Security                                            6074                      136231
  Check Amount                                000                 000                              Medicare                                                     1420                      31860
  Chkg   3414                             85202              2011279                               Fed Income       Tax   M 3                                   5274                       17904
  NET PAY                                 85202              2011279

                                                                                                  TOTAL                                                        12768                      185995




                                                                              NET PAY                                                                THIS   PERIOD   $                      YTD    $
                                                                                                                                                               85202                      2011279




  0944    17076279          Delgar   Foods   LLC    PO Box 2978     Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                            DELIA003263
                                 Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 10 of 47
         DELGAR          FOODS    LLC                                                   17076279
         PO Box 2978                                                                    ORG1350 Leads
                    TX   78502
                                                                                        EE ID 470
         Mcalien




                                                                  HECTOR SANCHEZ
                                                                  5101 N INCA DR
                                                                  SAN JUAN TX 78589




                                                      BANK   OF AMERICA
                                                      PAYABLE     IF   DESIRED    AT
                                                      ALL   BANK OF AMERICA            BANKS




  PERSONAL AND CHECK INFORMATION                                                       EARNINGS                DESCRIPTION            HRSUNITS             RATE   THIS PERIOD     $   YTD HOURS     YTD   $
  Hector    Sanchez
  5101     N Inca   Dr                                                                                         Regular                      4000         129000             51600        199157   2529881
  San Juan TX            78589                                                                                 Overtime                     2374         193500             45937         31446    605266
  Soc Sec           xxxxxxxxx            Employee ID        470                                                Bonus                                                                                10660

                                                                                                               Holiday                         1600      129000             20640          1600     20640
  Home Department                350 Leads                                                                     Vacation                                                                    8000    103200
                                                                                                               Total    Hours               7974                                         240203

  Pay Period 122020                to   122620                                                                 Gross      Earnings                                         118177                 3269647
  Check Date             123020         Check         4394327504                                               Total    Hrs Worked          6374
  NET      PAY ALLOCATIONS                                                             WITHHOLDINGS            DESCRIPTION            FILING    STATUS            THIS PERIOD     $                 YTD   $
  DESCRIPTION                    THIS    PERIOD   $                    YTD    $                                Social   Security                                             7327                  202718
  Check Amount                               101866               2934816                                      Medicare                                                      1714                   47410
  NET PAY                                    101866               2934816                                      Fed Income       Tax   M 4                                    6706                   56233


                                                                                                               TOTAL                                                        15747                  306361

                                                                                       DEDUCTIONS              DESCRIPTION                                        THIS   PERIOD   $                 YTD   $
                                                                                                               Insurance    Post                                              564                   28470


                                                                                                               TOTAL                                                          564                   28470




                                                                                       NET PAY                                                                    THIS   PERIOD   $                  YTD   $
                                                                                                                                                                           101866                  2934816




  0944     17076279          Delgar     Foods   LLC    PO Box 2978           Mcallen    TX     78502   956 9614609




CONFIDENTIAL                                                                                                                                                                                      DELIA003395
                                   Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 11 of 47
           DELGAR         FOODS      LLC                                               17076279
           PO Box 2978                                                                 ORG1300 Managers
           Mcallen   TX    78502
                                                                                       EE ID 396       DD




                                                                     HECTOR GONZALEZ
                                                                     2914 GAYLE ST
                                                                     EDINBURG TX 78541




  PERSONAL AND CHECK INFORMATION                                                      EARNINGS              DESCRIPTION              HRSUN1TS          RATE   THIS PERIOD     $   YTD   HOURS      YTD   $
  Hector     Gonzalez

  2914     Gayle St                                                                                         Salary                                                      57668                    4180379
  Edinburg      TX        78541                                                                             Bonus                                                                                  10659
  Soc Sec            xxxxxxxxx             Employee ID         396                                         Covid     Sick   EE                                                                     14417
                                                                                                            Holiday                                                     28832                      28832
  Home Department                  300    Managers                                                         Total    Hours
                                                                                                           Gross      Earnings                                          86500                    4234287
  Pay Period 122020                  to   122620                                                           Total Hrs        Worked
  Check Date          123020               Check        25075                         WITHHOLDINGS         DESCRIPTION               FILING   STATUS          THIS PERIOD     $                    TO $
  NET PAY ALLOCATIONS
                                                                                                           Social    Security                                            5363                     262526
  DESCRIPTION                      THIS    PERIOD     $               YTD    $                             Medicare                                                      1254                      61397
  Check Amount                                       000                 000                                                 Tax           +$20                          8146
                                                                                                           Fed   Income              S 3                                                          355014
  Chkg 4166                                       71087              3486892
  NET    PAY                                      71087              3486892                               TOTAL                                                        14763                     678937
                                                                                      DEDUCTIONS           DESCRIPTION                                        THIS   PERIOD   $                   YTD    $
                                                                                                           Insurance        Post                                            650                    68458


                                                                                                           TOTAL                                                            650                    68458




                                                                                      NET PAY                                                                 THIS PERIOD     $                    YTD   $
                                                                                                                                                                        71087                     3486892




  0944     17076279           Delgar      Foods   LLC      PO Box 2978      Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                                    DEL IA003529
                             Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 12 of 47
         DELGAR FOODS LLC                                                        17076279
         PO Box 2978                                                            ORG 1600     Production
         Mcallen TX  78502
                                                                                 EE ID 148            DD




                                                              YESSY A PEREZ MARTINEZ
                                                              3624 E RICHARDSON
                                                              EDINBURG TX 78541




  PERSONAL AND CHECK INFORMATION                                                EARNINGS             DESCRIPTION            HRSUNITS           RATE    THIS   PERIOD   $   YTD HOURS    YTD   $
 Yessy A Perez Martinez
  3624   E Richardson                                                                                Regular                      4000        125000             50000        199218   2490225
  Edinburg    TX   78541                                                                             Overtime                     1545        187500             28969         80106   1501995
 Soc Sec        xxxxxxxxx             Employee ID       148                                          Bonus                                                                               10660

                                                                                                     Holiday                      1600        125000             20000          1600     20000
  Home Department            600 Production                                                          Vacation                                                                   8000    100000
                                                                                                     Total    Hours               7145                                        288924

  Pay Period       122020      to    122620                                                          Gross     Earnings                                          98969                 4122880
  Check Date       123020             Check         25220                                            Total Hrs    Worked          5545
  NET PAY ALLOCATIONS                                                           WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                YTD   $
 DESCRIPTION                  THIS    PERIOD    $               YTD    $                             Social    Security                                           6137                  255619
  Check Amount                                 000                 000                               Medicare                                                     1435                   59782
  Chkg 0773                                  86996            3677111                                Fed   Income     Tax   M 4                                   4401                  130368
  NET PAY                                    86996            3677111

                                                                                                     TOTAL                                                       11973                  445769




                                                                                NET PAY                                                                THIS PERIOD     $                  YTD   $
                                                                                                                                                                 86996                  3677111




 0944     17076279       Delgar      Foods    LLC    PO Box 2978      Mcallen   TX   78502   956 9614609




                                                                                                                                                                                       DEL IA003662
CONFIDENTIAL
                                 Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 13 of 47
         DELGAR         FOODS LLC                                                  17076279
         PO Box 2978                                                               ORG1500 Kitchen
                   TX    78502
                                                                                   EE ID 607            DD
         Mcallen




                                                                 GILDA A RIVAS
                                                                 6346PROMENADE AVE
                                                                 EDINBURG TX 78542




  PERSONAL AND CHECK INFORMATION                                                  EARNINGS             DESCRIPTION            HRSUNITS            RATE   THIS PERIOD     $   YTD HOURS     YTD    $
  Gilda A Rivas

  6346   Promenade Ave                                                                                 Regular                      4000        92500              37000        195693   1771098
  Edinburg     TX       78542                                                                          Overtime                     2112        138750             29304         23639    323461
  Soc Sec          xxxxxxxxx             Employee ID       607                                         Bonus                                                                               10660

                                                                                                       Holiday                      1600         92500             14800          1600     14800
  Home Department                500 Kitchen                                                           Vacation                                                                   4000     36000
                                                                                                       Total    Hours               7712                                        224932
  Pay Period        122020        to    122620                                                         Gross      Earnings                                         81104                 2156019
  Check Date            123020           Check         25195                                           Total Hrs Worked             6112
  NET PAY ALLOCATIONS                                                             WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS PERIOD     $                 YTD   $
  DESCRIPTION                    THIS    PERIOD    $               YTD   $                             Social   Security                                            5028                  133673
  Check Amount                                    000                   000                            Medicare                                                     1176                   31262
  Chkg 4144                                     71907            1970855                               Fed Income       Tax   M 4                                   2514                    7775
  NET PAY                                       71907            1970855

                                                                                                       TOTAL                                                        8718                  172710
                                                                                  DEDUCTIONS           DESCRIPTION                                       THIS   PERIOD   $                 YTD   5
                                                                                                       Insurance    Post                                             479                   12454


                                                                                                       TOTAL                                                         479                   12454




                                                                                  NET PAY                                                                THIS PERIOD     $                  YTD   $
                                                                                                                                                                   71907                  1970855




  0944    17076279           Delgar     Foods    LLC    PO Box 2978     Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                             DEL A003791
                                                                                                                                                                                             I
                           Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 14 of 47
        DELGAR    FOODS      LLC                                            17676279
        PO Box 2978                                                         ORG1200      Supervisor
        Mcalien TX 78502


                                                                            EE ID 12              DD




                                                          ARMANDO MORALES DE LLANO
                                                          903 E CAMELIA AVE
                                                          HIDALGO TX 78557




  PERSONAL AND CHECK INFORMATION                                            EARNINGS             DESCRIPTION            HRSUNITS          RATE   THIS   PERIOD   $   YTD HOURS    YTD   $
  Armando Morales De Llano
  903   E Camelia Ave                                                                            Salary                                                    89068                 6368268

  Hidalgo   TX   78557                                                                           Bonus                                                                             10662

  Soc Sec        xxxxxxxxx         Employee ID       12                                          Covid    Sick   EE                                                               222664

                                                                                                 Holiday                                                   44532                   44532

  Home Department          200 Supervisors                                                       Sick                                                                              89069

                                                                                                 Vacation                                                                          66798

  Pay Period 122020          to   122620                                                         Total    Hours
  Check Date       123020          Check         25065                                           Gross     Earnings                                       133600                 6801993

  NET PAY ALLOCATIONS                                                                            Total Hrs Worked

                                                                            WITHHOLDINGS         DESCRIPTION            FILING   STATUS          THIS   PERIOD   $                YTD   $
  DESCRIPTION               THIS PERIOD      $              YTD    $
  Check Amount                             000                  000                              Social    Security                                         8284                  421724

  Chkg 4645                          114822               5848134                                Medicare                                                   1937                   98629

  NET PAY                            114822               5848134                                Fed Income       Tax   M 4                                 8557                  433506


                                                                                                 TOTAL                                                     18778                  953859




                                                                            NET PAY                                                              THIS   PERIOD   $                  YTD    3
                                                                                                                                                          114822                  5848134




  0944    17076279         Delgar Foods    LLC    PO Box 2978     Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                     DELIA003922
                                Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 15 of 47
         DELGAR         FOODS     LLC                                               17076279
         PO Box 2978                                                                ORG1500 Kitchen
                   TX   78502
                                                                                    EE ID 739
         Mcallen




                                                                   LAZARO GARCIA
                                                                   612 DATE PALM
                                                                   SAN JUAN TX 78589




                                                       BANK OF AMERICA
                                                       PAYABLE IF DESIRED      AT
                                                       ALL   BANK OF AMERICA    BANKS




  PERSONAL AND CHECK INFORMATION                                                    EARNINGS             DESCRIPTION            HRSUNITS           RATE    THIS PERIOD     $   YTD HOURS     YTD   $
  Laza   ro Garcia

  612    Date   Palm                                                                                     Regular                      4000        95000              38000        201228    1831052
  San Juan TX           78589                                                                            Overtime                     2969        142500             42308         44461     618736
  Soc Sec          xxxxxxxxx              Employee ID        739                                         Bonus                                                                                10660

                                                                                                         Holiday                      1600        95000              15200          1600      15200
  Home Department               500 Kitchen                                                              Vacation                                                                   4000      36000
                                                                                                         Total    Hours               8569                                        251289

  Pay Period 122020                to    122620                                                          Gross     Earnings                                          95508                  2511648
  Check Date            123020            Check       4394327559                                         Total Hrs Worked             6969
  NET PAY ALLOCATIONS                                                               WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                 YTD   $
  DESCRIPTION                     THIS    PERIOD   $                YTD    $                             Social    Security                                           5921                   155722
  Check Amount                                 80173               2180987                               Medicare                                                     1385                    36419
  NET PAY                                    80173                 2180987                               Fed Income       Tax   M 0                                   7955                   136596


                                                                                                         TOTAL                                                       15261                   328737

                                                                                    DEDUCTIONS           DESCRIPTION                                       THIS   PERIOD   $                 YTD   $
                                                                                                         Insurance    Post                                             074                     1924


                                                                                                         TOTAL                                                         074                     1924




                                                                                    NET PAY                                                                THIS   PERIOD   $                   YTD   $
                                                                                                                                                                     80173                   2180987




  0944     17076279             Delgar Foods    LLC     PO Box 2978       Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                               DELIA004057
                             Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 16 of 47
          DELGAR    FOODS LLC                                                       17076279
          PO Box 2978                                                              ORG1350 Leads
                  TX 78502
                                                                                   EE ID 580
          Mcallen




                                                             RICARDO ESQUIVEL
                                                             3004 E MAIN
                                                             ALTON TX 78573




                                                 BANK   OF AMERICA
                                                 PAYABLE     IF   DESIRED    AT
                                                 ALL   BANK OF AMERICA            BANKS




  PERSONAL AND CHECK INFORMATION                                                  EARNINGS             DESCRIPTION            HRSIUNITS           RATE   THIS   PERIOD   $   YTD HOURS     YTD   $
  Ricardo    Esquivel
  3004    E Main                                                                                       Regular                      4000        110000             44000        191110   2102210
  Alton   TX   78573                                                                                   Overtime                     2719        165000             44864         16928    279318
  Soc Sec        xxxxxxxxx          Employee ID        580                                              Bonus                                                                              10660
                                                                                                       Holiday                      1600        110000              17600         1600     17600
  Home Department            350 Leads                                                                 Vacation                                                                   4000     44000
                                                                                                       Total    Hours               8319                                        213638
  Pay Period       122020     to   122620                                                              Gross      Earnings                                        106464                 2453788
  Check Date       123020           Check        4394327502                                            Total Hrs    Worked          6719
  NET PAY ALLOCATIONS                                                             WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                YTD    $
  DESCRIPTION                THIS PERIOD     $                    YTD    $                             Social   Security                                            6601                  152135
  Check Amount                           91034               2217834                                   Medicare                                                      1544                  35580
  NET PAY                                91034               2217834                                   Fed   Income     Tax   M 2                                   7285                   48239


                                                                                                       TOTAL                                                        15430                 235954




                                                                                  NET PAY                                                                THIS   PERIOD   $                 YTD   $
                                                                                                                                                                   91034                  2217834




  0944    17076279       Delgar    Foods   LLC    PO Box 2978           Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                             DELIA0041   88
                                 Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 17 of 47
         DELGAR         FOODS     LLC                                                   17076279
         PO Box 2978                                                                    ORG1500 Kitchen
         Mcallen   TX    78502                                                          EE ID 472




                                                                   RAFAEL SANCHEZ
                                                                   3213 APODACA ST
                                                                   EDINBURG TX 78542




                                                        BANK OF AMERICA
                                                        PAYABLE    IF   DESIRED   AT
                                                        ALL BANK   OF AMERICA      BANKS




  PERSONAL AND CHECK INFORMATION                                                       EARNINGS             DESCRIPTION            HRSUNITS           RATE    THIS PERIOD     $   YTD HOURS    YTD    $
  Rafael    Sanchez
                                                                                                                                        4000         90000              36000        126476   1285446
  3213     Apodaca St                                                                                       Regular

               TX 78542                                                                                     Overtime                    1922         135000             25947         24390    365277
  Edinburg
                                                                                                                                                                                                10661
  Soc Sec          xxxxxxxxx              Employee ID       472                                             Bonus
                                                                                                            Holiday                     1600         90000              14400          1600     14400

  Home Department                500 Kitchen                                                                Vacation                                                                   8000     92000

                                                                                                            Total    Hours              7522                                         160466

                                         122620                                                                                                                         76347                 1767784
  Pay Period            122020     to                                                                       Gross      Earnings

  Check Date            123020            Check         4394327590                                          Total Hrs Worked            5922

  NET PAY ALLOCATIONS                                                                  WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                YTD    $
  DESCRIPTION                     THIS    PERIOD   $                    YTD   $                             Social    Security                                           4734                  109603

  Check Amount                                 70506                1614880                                 Medicare                                                     1107                   25633

  NET      PAY                                 70506                1614880                                 Fed Income       Tax   J                                                             8947



                                                                                                            TOTAL                                                        5841                  144183

                                                                                       DEDUCTIONS           DESCRIPTION                                       THIS   PERIOD   $                 YTD   $
                                                                                                            Insurance    Post                                                                    8721


                                                                                                                                                                                                 8721
                                                                                                            TOTAL




                                                                                        NET PAY                                                               THIS PERIOD     $                   YTD     $
                                                                                                                                                                         70506                  1614880




   0944     17076279             Delgar Foods     LLC    PO Box 2978          Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                                  DELIA00431      9
                             Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 18 of 47
         DELGAR     FOODS      LLC                                              17076279
         PO Box 2978                                                            ORG1400 Cashiers
         McaIlen TX  78502
                                                                                EE ID 509        DD




                                                              GUILLERMO RUIZ
                                                              711 TORONTO AVE

                                                              APT F4
                                                              MCALLEN TX 78503




  PERSONAL AND CHECK INFORMATION                                               EARNINGS             DESCRIPTION             FIRSUNITS          RATE    THIS   PERIOD   $   YTD   HOURS      YTD    $
  Guillermo Ruiz

  711 Toronto     Ave                                                                               Regular                       4000        95000              38000           194055    1783001
  Apt   F4                                                                                          Overtime                      1864        142500             26562            23852     334101
  McAllen    TX    78503                                                                            Bonus                                                                                    10661
  Soc Sec         xxxxxxxxx          Employee ID        509                                         Covid    Sick   EE                                                             6400      59600
                                                                                                    Holiday                       1600        95000               15200            1600      15200
  Home Department            400 Cashiers                                                           Vacation                                                                       4000     36000
                                                                                                    Total    Hours                7464                                           229907
  Pay Period       122020      to   122620                                                          Gross                                                        79762                    2238563
                                                                                                              Earnings
  Check Date       123020            Check          25158                                                                         5864
                                                                                                    Total Hrs Worked
  NET PAY ALLOCATIONS                                                          WITHHOLDINGS         DESCRIPTION             FILING   STATUS            THIS   PERIOD   $                    YTD    $
  DESCRIPTION                 THIS PERIOD      $               YTD    $                             Social   Security                                             4945                      138791
  Check Amount                                000               92067                               Medicare                                                      1156                       32459
  Chkg   0982                               70214             1076313                                                 Tax   M 3
                                                                                                    Fed Income                                                    3207                       18101
  Chkg 4002                                   000              868352
  NET PAY                                   70214             2036732                               TOTAL                                                         9308                      189351
                                                                               DEDUCTIONS           DESCRIPTION                                        THIS   PERIOD   $                    YTD    $
                                                                                                    Insurance       Post                                           240                       12480


                                                                                                    TOTAL                                                          240                       12480




                                                                               NET PAY                                                                 THIS   PERIOD   $                     YTD     $
                                                                                                                                                                 70214                     2036732




 0944    17076279          Delgar   Foods    LLC    PO Box 2978      Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                              DELIA004451
                               Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 19 of 47
          DELGAR       FOODS        LLC                                            17076279
          PO Box 2978                                                              ORG1400 Cashiers
          Mcallen TX 78502
                                                                                   EE ID 555        DD




                                                                   MARIA D CRUZ
                                                                   313 N GLASSCOCK             BLVD
                                                                   ALTON TX 78573




  PERSONAL AND CHECK INFORMATION                                                  EARNINGS              DESCRIPTION            HRSUNITS            RATE   THIS   PERIOD    $    YTD   HOURS       YTD   $
  Maria   D Cruz
  313 N Glasscock           Blvd                                                                        Regular                      4000         90000              36000            180496    1624464
  Alton   TX        78573                                                                                                               631      135000               8519
                                                                                                        Overtime                                                                        5528      74632
  Soc Sec      It    xxxxxxxxx             Employee ID       555                                        Bonus                                                                                     10659
                                                                                                        Holiday                      1600        90000               14400              1600      14400
  Home Department              400      Cashiers                                                        Vacation                                                                       4000       36000
                                                                                                        Total    Hours               6231                                             191624
  Pay Period          122020       to   1212620                                                         Gross                                                        58919
                                                                                                                 Earnings                                                                       1760155
  Check Date           123020             Check         25107                                           Total Hrs   Worked           4631
  NET PAY ALLOCATIONS                                                             WITHHOLDINGS          DESCRIPTION            FILING   STATUS            THIS   PERIOD    $                     YTD    $
  DESCRIPTION                      THIS    PERIOD    $              YTD   $                             Social   Security                                             3653                       109130
  Check Amount                                      000                 000                                                                                               854
                                                                                                        Medicare                                                                                  25522
  Chkg    3310                                    51096            1580269                                               Tax   S 3                                    2837
                                                                                                        Fed Income                                                                                20326
  NET PAY                                         51096            1580269

                                                                                                        TOTAL                                                         7344                       154978
                                                                                  DEDUCTIONS            DESCRIPTION                                       THIS   PERIOD    $                     YTD    $
                                                                                                        Insurance   Post                                                  479                     24908


                                                                                                        TOTAL                                                             479                     24908




                                                                                  NET PAY                                                                 THIS   PERIOD    $                      YTD   $
                                                                                                                                                                    51096                        1580269

   Payrolls     by Paybbex           In




  0944    17076279           Delgar       Foods   LLC     PO Box 2978   Mcallen   TX   78502    956 9614609




CONFIDENTIAL                                                                                                                                                                                   DEL IA004580
                                Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 20 of 47
          DELGAR         FOODS     LLC                                                 17076279
          PO Box 2978                                                                  ORG1300     Managers
                     TX 78502
                                                                                                              DD
          McaIlen
                                                                                       EE ID 138




                                                                    ROSENDO LIEVANOS
                                                                    1405£     SAINT     FRANCIS AVE
                                                                    ALTON TX          78573




  PERSONAL AND CHECK INFORMATION                                                      EARNINGS             DESCRIPTION            FIRSUNITS         RATE   THIS   PERIOD   $   YTD HOURS     YTD   $
  Rosendo         Lievanos

  1405 E Saint Francis Ave                                                                                 Salary                                                    74068                 5536488
  Alton    TX      78573                                                                                   Bonus                                                                             10662
  Soc Sec           xxxxxxxxx             Employee ID         138                                          Covid    Sick   EE                                                                92584

                                                                                                           Holiday                                                   37032                   37032
  Home Department               300     Managers                                                           Vacation                                                                         111096
                                                                                                           Total    Hours
  Pay Period             122020    to    122620                                                            Gross     Earnings                                       111100                 5787862
  Check Date             123020           Check       25076                                                Total Hrs Worked

  NET PAY ALLOCATIONS                                                                 WITHHOLDINGS         DESCRIPTION            FILING   STATUS          THIS   PERIOD   $                 YTD   $
  DESCRIPTION                     THIS PERIOD       $                 YTD    $                             Social   Security                                          6888                  358847
  Check Amount                                     000                  000                                Medicare                                                   1611                   83924
  Chkg 6286                                    95288                4962469                                Fed Income       Tax   M 3                                 6849                  358494
  NET PAY                                     95288                 4962469

                                                                                                           TOTAL                                                     15348                  801265
                                                                                      DEDUCTIONS           DESCRIPTION                                     THIS   PERIOD   $                 YTD   $
                                                                                                           Insurance       Post                                        464                   24128


                                                                                                           TOTAL                                                       464                   24128




                                                                                      NET PAY                                                              THIS   PERIOD   $                  YTD   $
                                                                                                                                                                     95288                  4962469


   Pat     oILs     iv   cayche         Inc




  0944     17076279             Delgar Foods    LLC      PO Box 2978        Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                               DELIA004711
                           Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 21 of 47
        DELGAR     =000S     LLC                                               17076279
        PO 13x 2976                                                            ORG1500     Kitchen
                TX 78502
                                                                                                      DD
        Mcallen
                                                                               EE ID 520




                                                            ELIZABETH         LARA
                                                            711   TORONTO          F4
                                                            MCALLEN TX 78503




 PERSONAL AND CHECK INFORMATION                                               EARNINGS               DESCRIPTION            HRSUNITS           RATE    THIS PERIOD     $   YTD   HOURS      YTD   $
 Elizabeth Lara

 711 Toronto     F4                                                                                  Regular                      4000        95000              38000           200319    1840461

 McAllen    TX    78503                                                                              Overtime                     2528        142500             36024            34445    478903
 Soc Sec         xxxxxxxxx          Employee ID       520                                            Bonus                                                                                   10661

                                                                                                     Holiday                      1600        95000              15200             1600      15200
 Home Department           500 Kitchen                                                               Vacation                                                                      4000      36000
                                                                                                     Total    Hours               8128                                           240364
 Pay Period       122020     to    122620                                                            Gross    Earnings                                           89224                    2381225
 Check Date       123020            Check         25182                                              Total Hrs Worked             6528
 NET PAY ALLOCATIONS                                                          WITHHOLDINGS           DESCRIPTION            FILING   STATUS            THIS PERIOD     $                    YTD   $
 DESCRIPTION                THIS    PERIOD    $               YTD    $                               Social   Security                                            5532                      147636
 Check Amount                                000                  000                                Medicare                                                     1294                       34528
 Chkg   1072                               77345            2144182                                  Fed Income       Tax   S 5                                   4489                       24987
 NET PAY                                   77345            2144182

                                                                                                     TOTAL                                                       11315                     207151

                                                                              DEDUCTIONS             DESCRIPTION                                       THIS   PERIOD   $                    YTD   $
                                                                                                     Insurance   Post                                              564                       29892


                                                                                                     TOTAL                                                         564                       29892




                                                                              NET PAY                                                                  THIS   PERIOD   $                      YTD    $
                                                                                                                                                                 77345                      2144182




 0944    17076279         Delgar   Foods    LLC    P0 Box 2978      Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                              DEL IA004825
                              Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 22 of 47
          DELGAR FOODS          LLC                                               17076279
          PO Box 2978                                                             ORG1300      Managers
          Mcallen TX 78502
                                                                                  EE ID 473            DD




                                                               LUISA ZUNIGA
                                                               14010CLOVER LANE
                                                               EDINBURG TX 78542




  PERSONAL AND CHECK INFORMATION                                                 EARNINGS             DESCRIPTION            HRSUNITS          RATE   THIS   PERIOD   $   YTD   HOURS     YTD   $
  Luis A Zuniga

  14010    Clover Lane                                                                                Salary                                                    65868                    4571132
  Edinburg       TX   78542                                                                           Bonus                                                                                10662
  Soc Sec         xxxxxxxxx           Employee ID        473                                                                                                    32932                      32932
                                                                                                      Holiday
                                                                                                      Sick                                                                                 28836
  Home Department             300    Managers                                                         Vacation                                                                            86500
                                                                                                      Total    Hours
  Pay Period          1212020   to   122620                                                           Gross      Earnings                                       98800                    4730062
  Check Date          123020          Check         25084                                             Total Hrs    Worked
  NET PAY ALLOCATIONS                                                            WITHHOLDINGS         DESCRIPTION            FILING   STATUS          THIS PERIOD     $                   YTD   $
  DESCRIPTION                   THIS PERIOD      $               YTD    $                             Social    Security                                         6126                     293264
  Check Amount                                  000                    000                            Medicare                                                   1433                      68586
  Chkg    3981                            87518                4197814                                Fed    Income    Tax   M 5                                 3457                     140290
  NET PAY                                     87518            4197814

                                                                                                      TOTAL                                                     11016                     502140
                                                                                 DEDUCTIONS           DESCRIPTION                                     THIS   PERIOD   $                   YTD   $
                                                                                                      Insurance    Post                                           266                      30108


                                                                                                      TOTAL                                                       266                      30108




                                                                                 NET PAY                                                              THIS PERIOD     $                    YTD   $
                                                                                                                                                                87518                     4197814




  0944    17076279         Delgar     Foods   LLC     PO Box 2978      Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                            DELIA004957
                                  Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 23 of 47
         DELGAR         FOODS       LLC                                               17076279
         PO Box 2978                                                                 ORG1600      Production
         Mcallen   TX    78502
                                                                                     EE ID 461             DD




                                                                   MIGUEL CABALLERO
                                                                   3318 SATURN STREET
                                                                   EDINBURG TX 78542




  PERSONAL AND CHECK INFORMATION                                                     EARNINGS             DESCRIPTION            HRSUNITS           RATE    THIS   PERIOD   $   YTD HOURS    YTD   $
  Miguel    Caballero

  3318   Saturn        Street                                                                             Regular                      4000        115000             46000        200000   2300000

  Edinburg        TX    78542                                                                             Overtime                        396      172500              6831         84122   1451112
  Soc Sec          xxxxxxxxx               Employee ID       461                                          Bonus                                                                               10662

                                                                                                          Holiday                      1600        115000             18400          1600     18400
  Home Department                 600 Production                                                          Vacation                                                                   8000     92000
                                                                                                          Total    Hours               5996                                        293722

  Pay Period            122020      to    122620                                                          Gross      Earnings                                         71231                 3872174
  Check Date            123020             Check         25215                                            Total Hrs Worked             4396
  NET PAY ALLOCATIONS                                                                WITHHOLDINGS         DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                YTD   $
  DESCRIPTION                      THIS    PERIOD    $               YTD    $                             Social   Security                                            4417                  240075
  Check Amount                                     000                  000                               Medicare                                                     1033                   56147
  Chkg     7897                               63196                3446412                                Fed   Income     Tax   M 4                                   1527                  102032
  NET PAY                                     63196                3446412

                                                                                                          TOTAL                                                        6977                  398254

                                                                                     DEDUCTIONS           DESCRIPTION                                       THIS   PERIOD   $                YTD   $
                                                                                                          Insurance    Post                                            1058                   27508


                                                                                                          TOTAL                                                        1058                   27508




                                                                                     NET PAY                                                                THIS PERIOD     $                  YTD    $
                                                                                                                                                                      63196                  3446412




  0944     17076279              Delgar   Foods    LLC    PO Box 2978      Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                                DELIA005090
                                 Case 7:23-cv-00343 Document 49-11 Filed on 10/18/24 in TXSD Page 24 of 47
          DELGAR         FOODS      LLC                                            17076279
          PO Box 2978                                                              ORG1300      Managers
                    TX   78502
                                                                                   EE ID 18             DD
          McaIlen




                                                                  CARLOS D LOPEZ MEDINA
                                                                  417W BUSINESS HVVY 83
                                                                  APT 4
                                                                  SAN JUAN TX 78589




  PERSONAL AND CHECK INFORMATION                                                   EARNINGS             DESCRIPTION            HRSUNITS          RATE   THIS PERIOD     $   YTD   HOURS     YTD   $
  Carlos D Lopez          Medina

  417W       Business Hwy          83                                                                   Salary                                                    57668                   3954668

  Apt 4                                                                                                 Bonus                                                                               10660
  San Juan TX            78589                                                                          Covid Sick   EE                                                                    159600
  Soc Sec           xxxxxxxxx              Employee ID       18                                         Holiday                                                   28832                     28832
                                                                                                        Sick                                                                                26600
  Home Department                 300    Managers                                                       Total    Hours
                                                                                                        Gross     Earnings                                        86500                   4180360
  Pay Period 122020                 to    122620                                                        Total    Hrs Worked
  Check Date             123020           Check         25077                      WITHHOLDINGS         DESCRIPTION            FILING   STATUS          THIS PERIOD     $                   YTD   $
  NET PAY ALLOCATIONS
                                                                                                        Social    Security                                         5363                    259182
  DESCRIPTION                      THIS    PERIOD    $             YTD    $                             Medicare                                                   1254                     60615
  Check Amount                                      000                 000                             Fed Income       Tax   M 4                                 3054                    128323
  Chkg     1953                               76829               3732240
  NET PAY                                     76829               3732240                               TOTAL                                                      9671                    448120




                                                                                   NET PAY                                                              THIS   PERIOD   $                    YTD    $
                                                                                                                                                                  76829                    3732240




  0944     17076279              Delgar   Foods   LLC     PO Box 2978    Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                              DELIA005220
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         DELGAR FOODS             LLC                                               17076279
         PO Box 2978                                                                ORG1500      Kitchen
         Mcallen   TX   78502
                                                                                    EE ID 661




                                                                 ELIAS     GUTIERREZ
                                                                 2500 S WARE     RD
                                                                 APT 28
                                                                 MCALLEN TX 78503




                                                     BANK OF AMERICA
                                                     PAYABLE IF DESIRED AT
                                                     ALL BANK OF AMERICA BANKS




  PERSONAL AND CHECK INFORMATION                                                   EARNINGS                DESCRIPTION            HRSUNITS             RATE   THIS PERIOD     $   YTD   HOURS      YTD    $
  Elias Gutierrez

  2500   S Ware     Rd                                                                                     Regular                      4000          95000              38000          177059    1601531
  Apt 28                                                                                                   Overtime                     2713         142500              38660            8520     119281
  McAllen    TX     78503                                                                                  Bonus                                                                                    10662
  Soc Sec          xxxxxxxxx            Employee ID        661                                                      SickFam                                                               8000
                                                                                                           Covid                                                                                    72000
                                                                                                           Holiday                         1600       95000              15200            1600      15200
  Home Department               500 Kitchen                                                                                                                                              4000
                                                                                                           Vacation                                                                                 36000
                                                                                                           Total    Hours               8313                                            199179
  Pay Period 122020              to    122620                                                              Gross      Earnings                                           91860                    1854674
  Check Date 123020                     Check      4394327564                                              Total Hrs    Worked          6713
  NET PAY ALLOCATIONS                                                              WITHHOLDINGS            DESCRIPTION            FILING    STATUS            THIS PERIOD     $                    YTD    $
  DESCRIPTION                   THIS    PERIOD   $                 YTD    $                                Social   Security                                             5696                      114990
  Check Amount                             80292                 1704294                                                                                                  1332
                                                                                                           Medicare                                                                                 26893
  NET PAY                                  80292                 1704294                                                    Tax   M 3                                    4540
                                                                                                           Fed   Income                                                                              8497


                                                                                                           TOTAL                                                         11568                    150380




                                                                                   NET PAY                                                                    THIS   PERIOD   $                     YTD     $
                                                                                                                                                                        80292                     1704294




 0944    17076279           Delgar     Foods LLC     PO Box 2978         Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                                     DELIA008788
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         DELGAR         FOODS     LLC                                              17076279
         PO Box 2978                                                               ORG1300       Managers
         Mcallen   TX   78502
                                                                                   EE ID   480




                                                                   ROSA QUINTANA
                                                                   1403 ARBOLEDAS
                                                                   PEN ITAS TX 78576




                                                          BANK OF AMERICA
                                                          PAYABLE IF DESIRED AT
                                                          ALL BANK OF AMERICA  BANKS




  PERSONAL AND CHECK INFORMATION                                                  EARNINGS             DESCRIPTION            HRSUNITS          RATE   THIS   PERIOD   $   YTD   HOURS     YTD    $
  Rosa   Quintana

  1403 Arboledas                                                                                       Salary                                                    74068                    5740168
  Penitas    TX    78576                                                                               Bonus                                                                                10662
  Soc Sec          xxxxxxxxx             Employee ID         480                                       Holiday                                                   37032                      37032
                                                                                                       Total    Hours
  Home Department               300    Managers                                                        Gross                                                    111100
                                                                                                                 Earnings                                                                 5787862
                                                                                                       Total Hrs    Worked
  Pay Period        122020              1212620
                                                                                                                                                                       $                          $
                                  to
                                                                                  WITHHOLDINGS         DESCRIPTION            FILING   STATUS          THIS PERIOD                         YTD
  Check Date        123020               Check        4394327501

  NET PAY ALLOCATIONS                                                                                  Social    Security                                         6888                     358847
                                                                                                       Medicare                                                   1611                      83924
  DESCRIPTION                    THIS    PERIOD       $              YTD    $                          Fed   Income     Tax   S 5                                 7114                     372274
  Check Amount                                  95487              4972817
  NET PAY                                       95487              4972817                             TOTAL                                                     15613                     815045




                                                                                  NET PAY                                                              THIS PERIOD     $                    YTD   5
                                                                                                                                                                 95487                    4972817




 0944    17076279          Delgar       Foods   LLC       PO Box 2978   Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                             DEL A008921
                                                                                                                                                                                             I
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          DELGAR         FOODS         LLC                                              17076279
          PO Box 2978                                                                   ORG1500      Kitchen
          Mcallen   TX    78502
                                                                                        EE ID 514               DD




                                                                     MARIA JESUS LOPEZ MEDINA
                                                                     471 W US HIGHWAY 83
                                                                     APT   7
                                                                     SAN JUAN TX 78589




  PERSONAL AND CHECK INFORMATION                                                       EARNINGS                DESCRIPTION            HRSUNITS            RATE   THIS   PERIOD   $   YTD HOURS     YTD   $
  Maria   Jesus Lopez        Medina

  471   W US Highway              83                                                                           Regular                      4000         90000             36000        195242    1757178
  Apt   7                                                                                                      Overtime                     2484        135000             33534         23060     311319
  San Juan TX            78589                                                                                 Bonus                                                                                10661
  Soc Sec           xxxxxxxxx                Employee ID       514                                             Holiday                      1600         90000             14400          1600      14400
                                                                                                               Vacation                                                                   4000     36000
  Home Department                 500 Kitchen                                                                  Total    Hours               8084                                        223902
                                                                                                               Gross      Earnings                                         83934                  2129558
  Pay Period         122020            to   122620                                                             Total Hrs    Worked          6484
  Check Date             123020              Check         25185
                                                                                       WITHHOLDINGS            DESCRIPTION            FILING   STATUS            THIS   PERIOD   $                 YTD   $
  NET PAY ALLOCATIONS
                                                                                                               Social   Security                                            5204                   132033
  DESCRIPTION                      THIS      PERIOD    $               YTD    $                                Medicare                                                     1217                    30879
  Check Amount                                        000             292978                                   Fed   Income     Tax   S 3                                   5838                    51222
  Chkg 7872                                         71384            1607314
  NET PAY                                           71384            1900292                                   TOTAL                                                       12259                   214134

                                                                                       DEDUCTIONS              DESCRIPTION                                       THIS   PERIOD   $                 YTD   $
                                                                                                               Insurance    Post                                             291                    15132


                                                                                                               TOTAL                                                         291                    15132




                                                                                       NET PAY                                                                   THIS PERIOD     $                  yro     $
                                                                                                                                                                           71384                   1900292




  0944     17076279           Delgar        Foods    LLC    PO Box 2978      Mcallen   TX   78502   956 9614609




CONFIDENTIAL                                                                                                                                                                                     DELIA008924
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  cFocus
                                                    12202020
                                                    Payroll    Report          for

                                                                    12262020
                                                          created   at   12142023 635 PM
   D6




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                                                ime
                                                In
                                                               Time
                                                                Out
   Job                     Date       Date                                                    Hours

                            In        Out
                                                                                     Breaks




   Cruz Juana                 101   578                                  102

   Kitchen                 1220      1220    0850 am         0641        pm             05     935

   Kitchen                 1221      1221    0453 am         0905 pm                   048    1572

   Kitchen                 1222      1222    0257    am      0517 pm                    05    1383

   Kitchen                 1223      1223    1201    am      0453 pm                          1687

   Kitchen                 1223      1224    0947 pm         1200        am             05     172

   Kitchen                 1224      1224    1201    am      0551        pm                   1783

   Totals    Cruz Juana                                                                248    7532




CONFIDENTIAL                                                                                          DELIA000955
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  oFocus                                                Payroll Report             for   12202020
                                                                        12262020
                                                              createu   at   1 192023     831   AM

   D5




                                                    me
                                                    In
                                                                   me
                                                                    Out
   Job                            Date    Date                                                       Hours

                                   In     Out
                                                                                         Breaks




   Esquivel     Ricado               ID 580                                  ID2

   Kitchen                        1220    1220   0420 am         0258        pm            045       1018

   Kitchen                        1221    1221   0803 am         0815        pm            047       1173

   Kitchen                        1222    1222   0413 am         0300        pm            032       1047

   Kitchen                        1222    1223   1156 pm         1201        am                       008

   Kitchen                        1223    1223   1201    am      0325        pm             05        149

   Kitchen                        1223    1224   0944 pm         1201        am                       228

   Kitchen                        1224    224    1202 am         0600        pm            042       1755

   Thtals    Esquivel    Ricado                                                            216       6719




CONFIDENTIAL                                                                                                 DELIA0021   04
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